            Case 1:19-mj-00443-MSN Document 1 Filed 10/10/19 Page 1 of 1 PageID# 1



Mod AO 442 (09/H) Arrest Waiiani       AUSA Name & Tcino: Rebekah Donaleski and Nicolas Roos, 212-637-2423/2421


                                         United States District Cour
                                                                  for the
                                                                                                              1 - 1- 1
                                                   Southern District of New York
                                                                                                                         S12019
                      United Slates of America
                                 V.
                                                                                                          CaiRK,U.8.DISTRICT COURT
                                                                                                          '^fll^AMDRIA.VIRGINIA
                           LEV PARNAS                                       Case No. ^ ®


                                                                                                                ^25
                             Defendant


                                                      ARREST WAR1U.NT

To;       Any authorized law enforcement officer

          VOU AHE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)        LEV PARNAS                                                                                          .
who is accused ofan offense or violation based on tlie following document filed with the court:

Sf Indictment              □ Superseding Indictment        □ Information      □ Superseding Information                □ Complaint
□ Probation Violation Petition              □ Supervised Release Violation Petition    3 Violation Notice              □ Order of the Court

This offense is briefly de.scribed as follows:
  Title 18. United States Code. Sections 371. 1001(a)(2), 1519, and 2 and Title 52, United States Code, Sections 30121,
  30122 and 30109(d)(1)(A) & (D)).




Date:           10/09/2019



City and state:         _New York, New York                                            y        J.
                                                                                           !'rotted name and title


                                                                 Return

          This warrant was received on (date)      ! '^/      j { , and the person was arre^ed on (date)                             ^
ai (city and stale)             lie j ^ \J A

Date:
                                                                                       KrresW^fficer's sinnature



                                                                                           I'ro/tcted name and title
